                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                DOCKET NO. 3:01-CR-2-2-FDW


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )              MEMORANDUM
 DALTON DION HOPKINS,                              )               OF DECISION
                                                   )
                Defendant.                         )
                                                   )

       In this matter before the Court for a reduction of sentence pursuant to 18 U.S.C.§ 3582(c)(2)

and Amendment 706 of the U.S.S.G. (made retroactive by Amendment 713), the Court makes the

following findings and conclusions:

1.     Defendant is eligible for a sentence reduction to a period of confinement equal to 86 months

(with a consecutive sentence of 40 months as to Count Eleven) for the reasons set forth in the

Supplement to the Presentence Report.

2.     In the case of a defendant who has been sentenced to a term of imprisonment “based on a

sentencing range that has subsequently been lowered by the Sentencing Commission,” 18

U.S.C. § 3582(c)(2) provides that the Court may reduce the term of imprisonment “after considering

the factors set forth in section 3553(a) to the extent they are applicable” and if such a reduction is

consistent with the applicable policy statements issued by the Sentencing Commission. In the

Commentary to U.S.S.G. § 1B1.10, the Sentencing Commission emphasized that the decision to

grant a sentence reduction authorized by retroactive amendments is discretionary and that

retroactivity does not entitle a defendant to a reduced term of imprisonment as a matter of right.

3.     While conceding eligibility, the Government objects to a reduction “because of the



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extraordinary acts of violence committed by the conspiracy in which Defendant knowingly and

voluntarily participated”—including numerous armed robberies and related shootings—“as well as

the number of disciplinary citations Defendant has received while in custody”—including two

assaults, one with a deadly weapon—thus “evidencing a clear disregard for the law.” Citing the

Medjuck case, Defendant argues that a Defendant’s post-conviction disciplinary issues should not

bar a reduction in sentence. While such considerations must be weighed on a case-by-case basis, the

Court determines in light of all the circumstances that this case is not an appropriate one for relief.

4.     Upon consideration of the sentencing factors set forth in 18 U.S.C. § 3553(a), the possible

threat to public safety posed by the early release of a person with this defendant’s criminal

predispositions, and this defendant’s post-sentencing misconduct, the court finds that the original

sentence of 97 months (with 40 months consecutive as to Count Eleven)—which already represents

a meaningful reduction based on Defendant’s substantial assistance—is the minimal sentence

appropriate to accomplish the objectives of sentencing.1

       An appropriate Order shall issue separately.

                                                  Signed: April 24, 2009




       1
        The Court notes that it is not required under Fourth Circuit case law to undertake an
exhaustive analysis of all of the § 3553(a) factors in this Order. See United States v. Legree, 205
F.3d 724, 728-29 (4th Cir. 2000).


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